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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

CHARLES TANKERSLEY,

      Plaintiff,                              Case No. _______________

v.
                                              JURY TRIAL DEMANDED
UNITED PARCEL SERVICE, INC.,

      Defendant.



                                 COMPLAINT

      COMES NOW, Plaintiff Charles “Ross” Tankersley (hereinafter “Plaintiff”),

in his Complaint against Defendant United Parcel Service, Inc. (hereinafter

“Defendant”), showing the Court as follows.

                                        1.

      This is an action arising under Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) and the Age Discrimination in

Employment Act of 1967 as amended, 29 U.S.C. § 621, et seq. (“ADEA”).


                                   PARTIES

                                        2.

      Plaintiff is a resident of the state of Georgia who lives at 1171 Calls Creek

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Circle, Watkinsville, Georgia 30677. Plaintiff is a former employee of Defendant

United Parcel Service, Inc. who worked for Defendant from September 8, 2003 to

November 9, 2020.

                                              3.

       Defendant United Parcel Service, Inc. is a publicly traded Delaware

corporation headquartered in Atlanta, Georgia and may be served at its principal

place of business located at 55 Glenlake Parkway, Atlanta, Georgia 30328.

                                              4.

       Defendant does business in this district, and the harms alleged occurred in this

district, via offices located in this district.

                                              5.

       Defendant has more than fifteen (15) or more employees and is subject to

actions of this kind and nature.


                            JURISDICTION AND VENUE

                                              6.

       This Court has subject matter jurisdiction over Plaintiff’s claims, based upon

Plaintiff’s Title VII and ADEA allegations pursuant to 28 U.S.C. §§ 1331 & 1337.

Venue is proper under 28 U.S.C. § 1391(b) & (c).



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                                          7.

      All conditions precedent to the institution of this suit have been fulfilled.

Plaintiff has timely filed a charge with the Equal Employment Opportunity

Commission (“EEOC”) and received a Notice of Right to Sue, and this action has

been filed within ninety (90) days of receipt of said Notice.


                                      FACTS

                                          8.

      Plaintiff worked for Defendant for 17 years, rising through the ranks and

achieving success supervising other employees in his Gainesville Center Manager

role. At all times, Plaintiff was hard working and gave over 100% to his team and

his employer.

                                          9.

      For the first time during his tenure with Defendant, Plaintiff was approached

in May 2020 about charges on his expense report allegedly not containing adequate

information. Plaintiff was interviewed about certain business expenses from July

2019 and February 2020.

                                         10.

      Plaintiff was not accused of theft, fraud, or other misuse of his company

AMEX® card. Plaintiff had not used his business AMEX® card in an inappropriate
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manner nor had he submitted any impermissible or unapproved expenses. All of

Plaintiff’s expenses submitted then being questioned had all been approved by

Plaintiff’s managers.

                                          11.

      The hour-long interrogation of Plaintiff in May 2020 ended with Defendant

reminding Plaintiff of the need for inclusion of detailed explanations with every

business expense and Plaintiff agreed to be more detailed in his expense reporting

going forward. Plaintiff’s subsequently-submitted expense reports included all

requested and required detail.

                                          12.

      Nearly three months later on August 6, 2020, Defendant notified Plaintiff that

his employment was terminated resulting from the expense reporting investigation.

                                          13.

      Plaintiff immediately disputed his termination through the UPS Employee

Dispute Resolution Program. Through the program, Plaintiff’s termination was

overturned and he was to be reinstated.

                                          14.

      However, UPS refused to reinstate Plaintiff to his position as Center Manager

at Gainesville, Georgia. Instead, UPS offered Plaintiff a position fifty (50) miles

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from his home. This distance was not workable for Plaintiff and he insisted that he

be reinstated to his prior position as Center Manager in Gainesville, per the

Employee Dispute Resolution Program.

                                        15.

       A female employee, Jillian Poppe, who is upon information and belief in her

twenties (20s), had been terminated for the exact same reason as Plaintiff. Upon

information and belief, UPS reinstated Poppe to her same location.

                                        16.

       UPS finally denied Plaintiff’s reinstatement, resulting in his termination on

November 9, 2020.

                                        17.

       Defendant’s failure to reinstate Plaintiff to his position and location was

discriminatory and caused considerable financial harm to Plaintiff due to the loss in

wages and was a great source of professional embarrassment and emotional distress

to Plaintiff.

                     COUNT ONE — TITLE VII VIOLATION

                                        18.

       Plaintiff realleges the above paragraphs 1-17 and herein incorporates them by

reference to this count.

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                                          19.

      Defendant is an employer within the meaning of Title VII, 42 U.S.C. 2000e,

which applies to all private employers.

                                          20.

      Plaintiff was an employee covered by Title VII.

                                          21.

      Defendant’s discriminatory actions against Plaintiff on the basis of his gender

as stated above, constitute a violation of Title VII.

                                          22.

      Due to Defendants’ unlawful actions, Plaintiff was injured and is therefore

entitled to punitive and compensatory damages, back pay, prejudgment interest,

reinstatement or front pay, attorneys’ fees, costs, and further relief in an amount to

be determined at trial.

        COUNT TWO — AGE DISCRIMINATION IN EMPLOYMENT
                       ACT VIOLATION

                                          23.

      Plaintiff realleges the above paragraphs 1-22 and herein incorporates them by

reference to this count.

                                          24.

      Defendant is an employer covered by the ADEA.
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                                         25.

      Plaintiff was an employee subject to the protection of the ADEA. While

Plaintiff was not yet 40 years old at the time of his termination in November 2020,

the Eleventh Circuit Court of Appeals recognizes that even a seven-year difference

in age qualifies as “substantially younger” for purposes of age discrimination claims

under ADEA. See Liebman v. Metro. Life Ins. Co., 808 F.3d 1294, 1298-99 (11th

Cir. 2015).

                                         26.

      Defendant’s discriminatory actions against Plaintiff by refusing to reinstate

him to his position and location as it had with a younger female similarly-situated

employee as stated above, constitutes a violation of the Age Discrimination in

Employment Act.

                                         27.

      Due to Defendant’s unlawful actions, Plaintiff was injured and is therefore

entitled to punitive and compensatory damages, back pay, prejudgment interest,

reinstatement or front pay, attorneys’ fees, costs, and further relief in an amount to

be determined at trial.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that this Court grant the

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following relief:

      (a)    A trial by jury, pursuant to Federal Rule of Civil Procedure 38(b), for

             all issues so triable;

      (b)    Find that Defendant are liable to Plaintiff for their Title VII violations

             for punitive and compensatory damages, back pay, prejudgment

             interest, front pay, and further relief appropriate under law and in an

             amount to be determined at trial;

      (c)    Find that Defendant are liable to Plaintiff for their Age Discrimination

             in Employment Act violations for punitive and compensatory damages,

             back pay, prejudgment interest, front pay, and further relief appropriate

             under law and in an amount to be determined at trial;

      (d)    Award Plaintiff his reasonable attorneys’ fees and costs of litigation;

             and

      (e)    Any and other such relief that this Honorable Court or the factfinder

             deems equitable and just.

Respectfully submitted this 23rd day of Septemer, 2021.

                                                     /s/ Nancy B. Pridgen
                                                     Nancy B. Pridgen, Esq.
                                                     Georgia Bar No. 587949
                                                     Leslie M. Bassett, Esq.
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